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&lt;div&gt;24CA0089 Estate of McClure 10-03-2024 &lt;/div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;span&gt; &lt;/span&gt; &lt;span&gt; &lt;/span&gt; &lt;span&gt; &lt;/span&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;COLORADO COURT OF APPEALS &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Court of Appeals No. 24CA0089 &lt;/div&gt;
&lt;div&gt;Pueblo County District Court No. 23PR30096 &lt;/div&gt;
&lt;div&gt;Honorable &lt;span&gt;Timothy OâShea&lt;/span&gt;, Judge &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;In the Matter of the &lt;span&gt;Estate of &lt;span&gt;Jonna Kay McClure, &lt;/span&gt;&lt;/span&gt;deceased. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Joseph Anthony Lopez&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Appellant, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;v. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Stephanie L. Moore, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Appellee. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;ORDERS AFFIRMED &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Division III &lt;/div&gt;
&lt;div&gt;Opinion by JUDGE GOMEZ &lt;/div&gt;
&lt;div&gt;Dunn and Navarro, JJ., concur &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;NOT PUBLISHED PURSUANT TO C.A.R. 35(e) &lt;/div&gt;
&lt;div&gt;Announced October 3, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;William &lt;span&gt;J. &lt;span&gt;Ballas, Pueblo, Colorado, for Appellant &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Charles D. &lt;span&gt;Esquibel&lt;/span&gt;, Pueblo, Colorado, for Appellee &lt;/div&gt;
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&lt;div&gt;1 &lt;/div&gt;
&lt;div&gt;Â¶ 1&lt;span&gt; &lt;/span&gt;&lt;span&gt;In this probate case, Joseph Anthony Lopez appeals the trial &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;courtâs &lt;span&gt;orders rejecting his claim that he was the common law &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;spouse of the decedent, Jonna Kay McClure, and appointing the &lt;/div&gt;
&lt;div&gt;decedentâs sister,&lt;span&gt; Stephanie L. Moore, &lt;span&gt;as &lt;/span&gt;personal representative of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the estate.  In addition to challenging the trial &lt;span&gt;courtâs rulings on &lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;claimed common law marriage and the appointment of a personal &lt;/div&gt;
&lt;div&gt;representative, he also challenges the trial &lt;span&gt;courtâs &lt;/span&gt;admission of &lt;/div&gt;
&lt;div&gt;evidence from the decedentâs &lt;span&gt;former attorney during the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;proceedings.  &lt;span&gt;We reject Lopezâs challenges and affirm the &lt;span&gt;&lt;/span&gt;courtâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;orders&lt;span&gt;. &lt;span&gt; &lt;span&gt;Ho&lt;/span&gt;wever, w&lt;span&gt;e deny Mooreâs request &lt;/span&gt;seeking appellate &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;attorney fees on the grounds that the appeal is frivolous. &lt;/div&gt;
&lt;div&gt;I.&lt;span&gt; &lt;span&gt;Background &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 2&lt;span&gt; &lt;span&gt;After McClureâs death&lt;span&gt; in 2023, Moore petitioned the trial court &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;to find that McClure had died intestate and to determine her heirs.  &lt;/div&gt;
&lt;div&gt;Moore also nominated herself to serve &lt;span&gt;as &lt;/span&gt;personal representative of &lt;/div&gt;
&lt;div&gt;the estate.&lt;span&gt;  &lt;/span&gt;In response, Lopez asserted that he was &lt;span&gt;McClureâs&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;common law spouse and asked that he be appointed as the &lt;/div&gt;
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&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMX/n%2Be/MMXn%2BekQ817y/lXyeovZwcgeMWibwHo7dUSO3Lu0a7r74%3D?AWSAccessKeyId=ASIA5PHC3MTP75KD774S&amp;amp;Expires=1728720260&amp;amp;Signature=oZmUCW8eO7eAmS1GmTUcD6zZw7M%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEEcaCXVzLWVhc3QtMSJGMEQCIELMJkOYPxxVuGj2jg7L%2BMDroaOC59odddXOaXkw4V84AiAM1lnI%2BkmOUhWqNUO%2FHx0fb%2FBgv16J8YimSf8c59gpqSq6BQig%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F8BEAAaDDkyNjA0MTIwMzkzNSIMDq7tJDh0JUck69QdKo4FhrLWQXIOomGOeKn5Pxn128gArYpSEmgYTGQCOniuv2JnsdPonQdPWJ%2BJfEbN99tKFqKAfJsdqDie3o6s%2B0dsXgUz%2BjlpStJiEfDnx6xESyqzEbXCMklkr3Ask3k9xggYN78rGaAmHPfcbdLMQi9tEN5pQ0ZNO1858C3LKmxqtdmpTIHUAfO7cQputLDgr7IZZuFEt6VKxS2l4GbYKxUogMVTxcIYDJ8bhs1fYQOdsAUOPcyGT7zMOJD6jaN9r1rFpK1CC%2Fy30m6jGKL5mrSH7rkRskxQjeIJUcSVR0wv6Xo%2F%2B7fo7ob57w1aaue4ITBTWLUo9BEEcedoVlhTTaxmNDEIfOt88%2BMqzHIDpqnHgLxMq0nxwzHMgYlGIGoxZJrUaPHDatUbPXJkoVPOPIjpuKDVEeEED6TnO6dvtzKZ7U0KMNCe8ACPtTumtUzpfAJJWQx3m%2B5Z3FmZ5OnAIRz7kmq9pOPHQIC9gKWEjGRLlGOQJHIEpeY1mBLYGZr3C%2Ffrh7CD%2Bpk%2FsHoQYAViqYCIlBce0ZTdMVlHajCywGC3KZ1LgHVfI4xx90SSnchFE5Oh%2FdM1OMtBtKllOY3z7x2KbjN0%2Bd0yLnJP23FrYNR9Knr4zhzPESw4X8GilTwWW7002qlrmIHKpnQ8ZYxidF5UhhvQ9FqSDGyYFayTu0R3I%2Fo6KmoCbT0ZZu54sePNwcUaj8qNfEAwBbp1zbaRfiZXcxeeCbcoL1vzFiEaTRHJb6VPKQHJ6RNrB4z8MgYd3F%2FK7Hd3XQy3FQEaxS0ZktuQjLKKJLL48AIgu1Y47yxrcTbr363v3zkevgw9%2BvwpfU3ldW42AgSLiEjhObxoGDQwd2UbAiO0anT%2Fp4Jpb3brMPS3qLgGOrIBglYnee%2FafgW%2FRNmBNzpOdFVDGRkei6Jyj5iNHZHZtop99gPKedE5Q9rC5E9UqvBWNGecisRa1g0U07qM8Ca45sXEJ60iSG6YCTwMjTDTtRep7p9p73sF3l0r47GHuMvNU5qQybzTdyXjB9fpEalO4HkxyxWQ9Nbl%2B3AH0%2Bq8%2BIt42sPPkU4PXgEJFLsGNutGcugqlO%2BaLNp87WHptmXRQwd%2FFe9F8LqL6Tim%2Fc4VpWzWEA%3D%3D"&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;2 &lt;/div&gt;
&lt;div&gt;personal representative.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt;The court scheduled a two-day hearing t&lt;span&gt;o &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;resolve the issues.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 3&lt;span&gt; &lt;/span&gt;&lt;span&gt;Before the hearing, Moore became aware of &lt;span&gt;a âCohabitation&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Agreement&lt;span&gt;â&lt;/span&gt;&lt;span&gt; between McClure and Lopez that an attorney had &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;drafted for McClure before her death.&lt;span&gt;  &lt;/span&gt;That draft agreement &lt;span&gt;â&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;which Lopez said he never received and apparently neither &lt;span&gt;he&lt;/span&gt; nor &lt;/div&gt;
&lt;div&gt;McClure ever executed &lt;span&gt;â&lt;/span&gt; provided, in part: &lt;/div&gt;
&lt;div&gt;Each of [u]s is an unmarried person. . . .  We &lt;/div&gt;
&lt;div&gt;are not married to each other or to anyone else &lt;/div&gt;
&lt;div&gt;as of the date of this Agreement.  If anyone has &lt;/div&gt;
&lt;div&gt;ever received any impression by our conduct &lt;/div&gt;
&lt;div&gt;that we were or are married, it was a &lt;/div&gt;
&lt;div&gt;misunderstanding.  Our cohabitation is an &lt;/div&gt;
&lt;div&gt;unmarried cohabitation.  No marriage between &lt;/div&gt;
&lt;div&gt;us has existed or is intended to exist under &lt;/div&gt;
&lt;div&gt;Colorado law or the laws of any other &lt;/div&gt;
&lt;div&gt;jurisdiction.  No future conduct of ours shall &lt;/div&gt;
&lt;div&gt;be deemed to constitute holding our &lt;/div&gt;
&lt;div&gt;relationship as a marriage.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; McClure and Lopez met in 2008, while McClure was married &lt;span&gt;&lt;/span&gt;to &lt;/div&gt;
&lt;div&gt;John McClure.  The McClures divorced in May 2009, &lt;span&gt;&lt;/span&gt;and John &lt;/div&gt;
&lt;div&gt;McClure later passed away.  Shortly after the divorce, &lt;span&gt;&lt;/span&gt;McClure and &lt;/div&gt;
&lt;div&gt;Lopez began a romantic relationship, and, in August 2009, Lo&lt;span&gt;&lt;/span&gt;pez &lt;/div&gt;
&lt;div&gt;moved in with McClure.  They cohabitated from then until &lt;/div&gt;
&lt;div&gt;McClureâs death &lt;span&gt;about thirteen and a half years later.&lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;3 &lt;/div&gt;
&lt;div&gt;The draft agreement went on to &lt;span&gt;provide for the partiesâ respective &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;property rights and financial obligations at that time as well as &lt;/div&gt;
&lt;div&gt;upon the termination of their cohabitation.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 4&lt;span&gt; &lt;/span&gt;&lt;span&gt;Moore sought the disclosure of evidence regarding the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;attorneyâs representation of McClure, and later &lt;span&gt;Moore sought the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;admission of that evidence, arguing that it was relevant to wheth&lt;span&gt;&lt;/span&gt;er &lt;/div&gt;
&lt;div&gt;McClure believed she was married to Lopez.&lt;span&gt;  &lt;/span&gt;Lopez objected to both &lt;/div&gt;
&lt;div&gt;the discovery and the later admission of th&lt;span&gt;at&lt;/span&gt; evidence, arguing t&lt;span&gt;&lt;/span&gt;hat &lt;/div&gt;
&lt;div&gt;it was protected by the attorney-client privilege.&lt;span&gt;  &lt;/span&gt;The trial court &lt;/div&gt;
&lt;div&gt;overruled both objections, allowed the discovery, and admitted the &lt;/div&gt;
&lt;div&gt;evidence at the hearing under the testamentary exception to t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;attorney-client privilege.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 5&lt;span&gt; &lt;/span&gt;&lt;span&gt;During the two-day hearing, the court heard evidence from &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;both sides, including testimony from Lopez, testimony from several &lt;/div&gt;
&lt;div&gt;people who knew McClure and Lopez throughout their relationship, &lt;/div&gt;
&lt;div&gt;records of &lt;span&gt;McClureâs and Lopezâs &lt;/span&gt;property ownership and tax &lt;/div&gt;
&lt;div&gt;filings, a&lt;span&gt;nd&lt;/span&gt; evidence regarding the draft Cohabitation Agreement.&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 6&lt;span&gt; &lt;/span&gt;&lt;span&gt;The court later entered an order finding that the evidence &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;didn&lt;span&gt;â&lt;/span&gt;&lt;span&gt;t clearly establish that McClure and Lopez mutually agree&lt;span&gt;&lt;/span&gt;d to &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;be in a marital relationship and, thus, that they were not common &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt; &lt;/div&gt;
&lt;div&gt;4 &lt;/div&gt;
&lt;div&gt;law marri&lt;span&gt;ed&lt;/span&gt;&lt;span&gt;.  &lt;/span&gt;The court therefore determined that Moore had &lt;/div&gt;
&lt;div&gt;priority to be appointed as personal representative.&lt;span&gt;  &lt;/span&gt;Two days later, &lt;/div&gt;
&lt;div&gt;the court entered &lt;span&gt;an&lt;/span&gt; order appointing Moore as personal &lt;/div&gt;
&lt;div&gt;representative &lt;span&gt;and determining McClureâs heirs (&lt;/span&gt;who did not &lt;/div&gt;
&lt;div&gt;include Lopez).&lt;span&gt;  &lt;/span&gt;This appeal followed. &lt;/div&gt;
&lt;div&gt;II.&lt;span&gt; &lt;span&gt;Common Law Marriage &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 7&lt;span&gt; &lt;/span&gt;&lt;span&gt;Lopez contends that the trial court erred in finding that &lt;span&gt;he&lt;/span&gt; and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;McClure were not common law married.&lt;span&gt;  &lt;/span&gt;We disagree. &lt;/div&gt;
&lt;div&gt;Â¶ 8&lt;span&gt; &lt;span&gt;âA&lt;span&gt; determination of whether a common law marriage exists &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;turns on issues of fact and credibility, which are properly &lt;span&gt;&lt;/span&gt;within the &lt;/div&gt;
&lt;div&gt;trial courtâs discretion.â  &lt;span&gt;In re Estate of Yudkin&lt;span&gt;, 2021 CO 2, Â¶ &lt;span&gt;16 &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(quoting &lt;span&gt;People v. Lucero&lt;/span&gt;, 747 P.2d 660, 665 (Colo. 1987)).&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;âAccordingly, we review the [courtâs] factual findings for clear erro&lt;span&gt;&lt;/span&gt;r &lt;/div&gt;
&lt;div&gt;and [its] common law marriage finding for an abuse of &lt;span&gt;&lt;/span&gt;discretion.â  &lt;/div&gt;
&lt;div&gt;Id.  &lt;span&gt;A factual finding is clearly erroneous if it has no support in t&lt;span&gt;&lt;/span&gt;he &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;record.  &lt;span&gt;Blakeland Drive Invs., LLP IV v. Taghavi&lt;/span&gt;, 2023 COA 30&lt;span&gt;&lt;/span&gt;M, &lt;/div&gt;
&lt;div&gt;Â¶ &lt;span&gt;28&lt;/span&gt;&lt;span&gt;.&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;And a court abuses its discretion &lt;span&gt;if&lt;/span&gt; its decision is manifestly &lt;/div&gt;
&lt;div&gt;arbitrary, unreasonable, or unfair or is based on an erroneous &lt;/div&gt;
&lt;div&gt;understanding or application of the law.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;In re Marriage of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Badawiyeh&lt;span&gt;, 2023 COA 4, Â¶ 9. &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt; &lt;/div&gt;
&lt;div&gt;5 &lt;/div&gt;
&lt;div&gt;Â¶ 9&lt;span&gt; &lt;/span&gt;&lt;span&gt;In &lt;span&gt;Hogsett v. Neale&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;the supreme court established an updated &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;test for determining whether a common law marriage exists: &lt;/div&gt;
&lt;div&gt;[A] common law marriage may be established &lt;/div&gt;
&lt;div&gt;by the mutual consent or agreement of the &lt;/div&gt;
&lt;div&gt;couple to enter the legal and social institution &lt;/div&gt;
&lt;div&gt;of marriage, followed by conduct manifesting &lt;/div&gt;
&lt;div&gt;that mutual agreement.  The key question is &lt;/div&gt;
&lt;div&gt;whether the parties mutually intended to enter &lt;/div&gt;
&lt;div&gt;a &lt;span&gt;marital&lt;/span&gt;&lt;span&gt; relationship &lt;span&gt;â&lt;/span&gt; that is, to share a life &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;together as spouses in a committed, intimate &lt;/div&gt;
&lt;div&gt;relationship of mutual support and mutual &lt;/div&gt;
&lt;div&gt;obligation. &lt;/div&gt;
&lt;div&gt;2021 CO 1, Â¶ &lt;span&gt;49&lt;/span&gt;&lt;span&gt;.&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;Where there is no evidence of an express &lt;/div&gt;
&lt;div&gt;agreement to marry, the court may infer the existence of a marital &lt;/div&gt;
&lt;div&gt;relationship from the partiesâ conduct.  &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt;  &lt;span&gt;This involves &lt;/span&gt;&lt;/span&gt;âa flexible &lt;/div&gt;
&lt;div&gt;inquiry into the totality of the circumstances that relies on the &lt;/div&gt;
&lt;div&gt;factfinderâs credibility determinations and weighing of the &lt;span&gt;&lt;/span&gt;evidence.â  &lt;/div&gt;
&lt;div&gt;Id. &lt;span&gt;at Â¶ &lt;span&gt;50.&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;In particular, a court should consider such facto&lt;span&gt;&lt;/span&gt;rs as &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(&lt;span&gt;1)&lt;/span&gt;&lt;span&gt; &lt;/span&gt;&lt;span&gt;âcohabitationâ;&lt;/span&gt;&lt;span&gt; (2) &lt;span&gt;âreputation in the community as sp&lt;span&gt;&lt;/span&gt;ousesâ; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(3) &lt;span&gt;âmaintenance of joint banking and credit accountsâ; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(4) &lt;span&gt;âpurchase and joint ownership of propertyâ; (5)&lt;/span&gt; &lt;span&gt;âfiling of joint&lt;span&gt;&lt;/span&gt; tax &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;returnsâ; (6)&lt;span&gt; &lt;/span&gt;âuse of one spouseâs surname by the other or by &lt;/div&gt;
&lt;div&gt;children raised by the partiesâ; (7)&lt;span&gt; &lt;/span&gt;âshared financial responsibility,&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;such as leases in both partnersâ names, joint bills, or other &lt;span&gt;&lt;/span&gt;payment &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf7" data-page-no="7"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;6 &lt;/div&gt;
&lt;div&gt;recordsâ; (8)&lt;span&gt; &lt;/span&gt;âjoint estate planning, including wills, powers of &lt;/div&gt;
&lt;div&gt;attorney, [and] &lt;span&gt;beneficiary and emergency contact designations&lt;span&gt;&lt;/span&gt;â; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(9) &lt;span&gt;âsymbols of commitment, such as ceremonies, anniversa&lt;span&gt;&lt;/span&gt;ries, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;cards, [and] gifts&lt;span&gt;â; (10)&lt;/span&gt; &lt;span&gt;âthe coupleâs references to or labels for &lt;span&gt;&lt;/span&gt;one &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;anotherâ; and (1&lt;span&gt;1) &lt;/span&gt;âthe partiesâ sincerely held beliefs regarding the &lt;/div&gt;
&lt;div&gt;institution of marriage.â  &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt; at Â¶Â¶ &lt;span&gt;55&lt;/span&gt;&lt;span&gt;-&lt;span&gt;56&lt;/span&gt;&lt;/span&gt;. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 10&lt;span&gt; &lt;/span&gt;&lt;span&gt;The trial court applied this test t&lt;span&gt;o &lt;/span&gt;determine whether McClure &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and Lopez were common law married&lt;span&gt;.  The court first found ân&lt;span&gt;&lt;/span&gt;o &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;evidence in the record reflecting that [McClure] and Lopez ever ha&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;an express agreement to marry.â &lt;span&gt; It then &lt;/span&gt;âturn[ed] to the co&lt;span&gt;&lt;/span&gt;upleâs &lt;/div&gt;
&lt;div&gt;conduct to determine whetherâ a common law marriage existed.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 11&lt;span&gt; &lt;span&gt;In evaluating the coupleâs conduct, the court&lt;span&gt; assessed each &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;factor articulated by the supreme court in &lt;span&gt;Hogsett&lt;/span&gt; and concluded &lt;/div&gt;
&lt;div&gt;that several factors &lt;span&gt;â&lt;/span&gt; cohabitation, maintenance of joint banking &lt;/div&gt;
&lt;div&gt;and credit accounts, purchase and joint ownership of &lt;span&gt;&lt;/span&gt;property, &lt;/div&gt;
&lt;div&gt;shared financial responsibility, and beneficiary and emergency &lt;/div&gt;
&lt;div&gt;contact designations &lt;span&gt;â&lt;/span&gt; weighed in favor of a common law marriage &lt;/div&gt;
&lt;div&gt;finding.  On the other hand, the court concluded that several &lt;span&gt;&lt;/span&gt;other &lt;/div&gt;
&lt;div&gt;factors &lt;span&gt;â&lt;/span&gt; reputation in the community as spouses, filing of &lt;span&gt;&lt;/span&gt;joint tax &lt;/div&gt;
&lt;div&gt;returns, &lt;span&gt;use of one spouseâs surname, &lt;/span&gt;symbols of commitment, and &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf8" data-page-no="8"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;7 &lt;/div&gt;
&lt;div&gt;the coupleâs references to or labels for one another&lt;span&gt; &lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt; weighed &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;against a common law marriage finding, and that some of t&lt;span&gt;&lt;/span&gt;hose &lt;/div&gt;
&lt;div&gt;factors weighed âheavilyâ against such a finding&lt;span&gt;.  &lt;span&gt;The court also &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;concluded that there was no evidence concerning the final &lt;span&gt;&lt;/span&gt;factor &lt;span&gt;â&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;the partiesâ beliefs about the institution of marriage.  &lt;span&gt;After &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;assessing all of the factors, the court determined that the &lt;span&gt;&lt;/span&gt;totality of &lt;/div&gt;
&lt;div&gt;the circumstances did not indicate a manifestation of a mutu&lt;span&gt;&lt;/span&gt;al &lt;/div&gt;
&lt;div&gt;agreement &lt;span&gt;to&lt;/span&gt; be married. &lt;/div&gt;
&lt;div&gt;Â¶ 12&lt;span&gt; &lt;/span&gt;&lt;span&gt;On appeal, Lopez points to evidence that he claims supports &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the existence of a common law marriage, particularly evidence t&lt;span&gt;&lt;/span&gt;hat &lt;/div&gt;
&lt;div&gt;he and McClure lived together for several years, had joint bank &lt;/div&gt;
&lt;div&gt;accounts, jointly owned property, named each other as emergency &lt;/div&gt;
&lt;div&gt;medical contacts, named each other as beneficiaries on insurance &lt;/div&gt;
&lt;div&gt;policies, wore wedding rings, exchanged commitment symbols like &lt;/div&gt;
&lt;div&gt;gifts and cards, and introduced each other as spouses&lt;span&gt;.  &lt;span&gt;Th&lt;/span&gt;&lt;/span&gt;e court &lt;/div&gt;
&lt;div&gt;discussed &lt;span&gt;th&lt;/span&gt;at evidence in its assessment of the &lt;span&gt;Hogsett&lt;/span&gt; factors.&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;But&lt;span&gt; the court came to different conclusions about wh&lt;span&gt;&lt;/span&gt;ether &lt;span&gt;it&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;demonstrated the existence of a common law marriage.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 13&lt;span&gt; &lt;/span&gt;&lt;span&gt;The trial court acknowledged that McClure and Lopez lived &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;together for about thirteen and a half years, that they had joint &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf9" data-page-no="9"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;8 &lt;/div&gt;
&lt;div&gt;banking and credit accounts and jointly owned property, and that &lt;/div&gt;
&lt;div&gt;McClure named Lopez as the beneficiary on two life insurance &lt;/div&gt;
&lt;div&gt;policies&lt;span&gt;. &lt;span&gt; The&lt;span&gt;se&lt;/span&gt; facts, the court concluded, weigh&lt;span&gt;ed&lt;/span&gt; in favor of a &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;common law marriage.  However, the court did not agree that &lt;/div&gt;
&lt;div&gt;McClure and Lopez had a reputation in the community &lt;span&gt;&lt;/span&gt;as spouses, &lt;/div&gt;
&lt;div&gt;that they shared symbols of commitment, or that t&lt;span&gt;&lt;/span&gt;hey referred to &lt;/div&gt;
&lt;div&gt;each other as spouses. &lt;/div&gt;
&lt;div&gt;Â¶ 14&lt;span&gt; &lt;/span&gt;&lt;span&gt;As to the &lt;span&gt;coupleâs reputation in the community&lt;/span&gt;, the court &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;found that there were credible witnesses on either side that &lt;/div&gt;
&lt;div&gt;âtestif[ied] to the couple being reputed&lt;span&gt; . . . as married or not &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;married.â  Indeed, Lopez presented witnesses who s&lt;span&gt;aid they &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;regarded the couple as married, wh&lt;span&gt;ile&lt;/span&gt; Moore presented other &lt;/div&gt;
&lt;div&gt;witnesses who testified to the contrary.  The court concluded that,&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;âin the totality of the circumstances,â the evidence &lt;span&gt;regarding the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;coupleâs reputation was inconclusive and for that reason &lt;span&gt;&lt;/span&gt;weighed &lt;/div&gt;
&lt;div&gt;against a finding of a common law marriage. &lt;/div&gt;
&lt;div&gt;Â¶ 15&lt;span&gt; &lt;/span&gt;&lt;span&gt;As to shared symbols of commitment, the court remarked that &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;there was no evidence of a marriage ceremony, a celebration &lt;span&gt;&lt;/span&gt;of &lt;/div&gt;
&lt;div&gt;marriage, or any anniversary celebrations.&lt;span&gt;  &lt;/span&gt;The court discounted &lt;/div&gt;
&lt;div&gt;Lopezâs evidence of gifts, noting that the &lt;span&gt;jewelry box and preprinte&lt;span&gt;&lt;/span&gt;d &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfa" data-page-no="a"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;9 &lt;/div&gt;
&lt;div&gt;card referring to âMy Husbandâ &lt;span&gt;contained no identifying &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;information and that, while Lopez apparently gave McClure a locket &lt;/div&gt;
&lt;div&gt;and &lt;span&gt;a &lt;/span&gt;card referring to her as his wife, there was no evidence &lt;span&gt;&lt;/span&gt;of any &lt;/div&gt;
&lt;div&gt;gifts in which &lt;span&gt;she&lt;span&gt;â&lt;/span&gt;&lt;span&gt;d&lt;/span&gt;&lt;/span&gt; referred to &lt;span&gt;him&lt;/span&gt; &lt;span&gt;as &lt;/span&gt;her husband.&lt;span&gt;  &lt;/span&gt;The court als&lt;span&gt;&lt;/span&gt;o &lt;/div&gt;
&lt;div&gt;acknowledged Lopezâs evidence of a &lt;span&gt;set of matching rings but &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;pointed to the absence of any âevidence .&lt;span&gt; . . of a proposal, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;announcement, act, occasion, or event that would indicate that&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;[they] were &lt;span&gt;wedding&lt;/span&gt; &lt;span&gt;or &lt;/span&gt;&lt;span&gt;marriage&lt;/span&gt; rings as opposed to simply &lt;/div&gt;
&lt;div&gt;matching rings for a couple.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;And the court observed that photos of &lt;/div&gt;
&lt;div&gt;McClure and Lopez showed a &lt;span&gt;â&lt;/span&gt;&lt;span&gt;happy&lt;/span&gt;&lt;span&gt;â &lt;/span&gt;couple but not necessarily a &lt;/div&gt;
&lt;div&gt;â&lt;span&gt;married&lt;/span&gt;&lt;span&gt;â one&lt;span&gt;.&lt;span&gt;  &lt;span&gt;Overall, the court found this factor to weigh heavily &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;against a common law marriage finding; it explained&lt;span&gt;, &lt;/span&gt;quoting &lt;/div&gt;
&lt;div&gt;Hogsett&lt;span&gt;, Â¶ 3, that it &lt;span&gt;âplace[d] great weight on the fact that&lt;span&gt;&lt;/span&gt; &lt;span&gt;there &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;[was] no reliable evidence of symbols of commitment demonst&lt;span&gt;&lt;/span&gt;rating &lt;/div&gt;
&lt;div&gt;a â&lt;span&gt;mutual consent&lt;span&gt; &lt;span&gt;or &lt;/span&gt;&lt;/span&gt;agreement &lt;span&gt;of the couple to enter t&lt;span&gt;&lt;/span&gt;he legal and &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;social institution of marriageââ&lt;span&gt; despite their more than t&lt;span&gt;&lt;/span&gt;hirteen &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;years together. &lt;/div&gt;
&lt;div&gt;Â¶ 16&lt;span&gt; &lt;/span&gt;&lt;span&gt;And as to references to one another as spouses, the court &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;found the evidence &lt;span&gt;âconflicting and unclear&lt;/span&gt;&lt;span&gt;.&lt;span&gt;â&lt;/span&gt;&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;The court noted that &lt;/div&gt;
&lt;div&gt;much of the evidence Lopez presented on this issue, aside from his &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfb" data-page-no="b"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMX/n%2Be/MMXn%2BekQ817y/lXyeovZwcgeMWibwHo7dUSO3Lu0a7r74%3D?AWSAccessKeyId=ASIA5PHC3MTP75KD774S&amp;amp;Expires=1728720260&amp;amp;Signature=oZmUCW8eO7eAmS1GmTUcD6zZw7M%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEEcaCXVzLWVhc3QtMSJGMEQCIELMJkOYPxxVuGj2jg7L%2BMDroaOC59odddXOaXkw4V84AiAM1lnI%2BkmOUhWqNUO%2FHx0fb%2FBgv16J8YimSf8c59gpqSq6BQig%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F8BEAAaDDkyNjA0MTIwMzkzNSIMDq7tJDh0JUck69QdKo4FhrLWQXIOomGOeKn5Pxn128gArYpSEmgYTGQCOniuv2JnsdPonQdPWJ%2BJfEbN99tKFqKAfJsdqDie3o6s%2B0dsXgUz%2BjlpStJiEfDnx6xESyqzEbXCMklkr3Ask3k9xggYN78rGaAmHPfcbdLMQi9tEN5pQ0ZNO1858C3LKmxqtdmpTIHUAfO7cQputLDgr7IZZuFEt6VKxS2l4GbYKxUogMVTxcIYDJ8bhs1fYQOdsAUOPcyGT7zMOJD6jaN9r1rFpK1CC%2Fy30m6jGKL5mrSH7rkRskxQjeIJUcSVR0wv6Xo%2F%2B7fo7ob57w1aaue4ITBTWLUo9BEEcedoVlhTTaxmNDEIfOt88%2BMqzHIDpqnHgLxMq0nxwzHMgYlGIGoxZJrUaPHDatUbPXJkoVPOPIjpuKDVEeEED6TnO6dvtzKZ7U0KMNCe8ACPtTumtUzpfAJJWQx3m%2B5Z3FmZ5OnAIRz7kmq9pOPHQIC9gKWEjGRLlGOQJHIEpeY1mBLYGZr3C%2Ffrh7CD%2Bpk%2FsHoQYAViqYCIlBce0ZTdMVlHajCywGC3KZ1LgHVfI4xx90SSnchFE5Oh%2FdM1OMtBtKllOY3z7x2KbjN0%2Bd0yLnJP23FrYNR9Knr4zhzPESw4X8GilTwWW7002qlrmIHKpnQ8ZYxidF5UhhvQ9FqSDGyYFayTu0R3I%2Fo6KmoCbT0ZZu54sePNwcUaj8qNfEAwBbp1zbaRfiZXcxeeCbcoL1vzFiEaTRHJb6VPKQHJ6RNrB4z8MgYd3F%2FK7Hd3XQy3FQEaxS0ZktuQjLKKJLL48AIgu1Y47yxrcTbr363v3zkevgw9%2BvwpfU3ldW42AgSLiEjhObxoGDQwd2UbAiO0anT%2Fp4Jpb3brMPS3qLgGOrIBglYnee%2FafgW%2FRNmBNzpOdFVDGRkei6Jyj5iNHZHZtop99gPKedE5Q9rC5E9UqvBWNGecisRa1g0U07qM8Ca45sXEJ60iSG6YCTwMjTDTtRep7p9p73sF3l0r47GHuMvNU5qQybzTdyXjB9fpEalO4HkxyxWQ9Nbl%2B3AH0%2Bq8%2BIt42sPPkU4PXgEJFLsGNutGcugqlO%2BaLNp87WHptmXRQwd%2FFe9F8LqL6Tim%2Fc4VpWzWEA%3D%3D"&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;10 &lt;/div&gt;
&lt;div&gt;own testimony, was &lt;span&gt;âinadmissible pursuant to the Dead Manâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Statute and as hearsay.â&lt;span&gt; &lt;span&gt; &lt;/span&gt;(Lopez &lt;/span&gt;doesnât challenge th&lt;span&gt;ose evidentiary &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;rulings &lt;span&gt;on&lt;/span&gt; appeal&lt;span&gt;.)  &lt;/span&gt;And the court found the admissible evidence &lt;/div&gt;
&lt;div&gt;was conflicting: a few witnesses said they heard McClure, on some &lt;/div&gt;
&lt;div&gt;occasions, refer to Lopez as her &lt;span&gt;âhusband&lt;span&gt;,&lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;/span&gt; and McClure apparently &lt;/div&gt;
&lt;div&gt;referred to Lopez as &lt;span&gt;a â&lt;/span&gt;&lt;span&gt;spouse&lt;span&gt;â&lt;/span&gt;&lt;/span&gt; or &lt;span&gt;â&lt;span&gt;husband&lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;/span&gt; on some life insurance &lt;/div&gt;
&lt;div&gt;applications, but another witness said she heard McClure refe&lt;span&gt;&lt;/span&gt;r to &lt;/div&gt;
&lt;div&gt;Lopez as her âold man,â not &lt;span&gt;her &lt;/span&gt;&lt;span&gt;âhusband&lt;span&gt;,&lt;/span&gt;&lt;/span&gt;&lt;span&gt;â &lt;/span&gt;&lt;span&gt;and the court foun&lt;span&gt;&lt;/span&gt;d it &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;meaningful that McClure had ârepeatedly represented to t&lt;span&gt;&lt;/span&gt;he federal &lt;/div&gt;
&lt;div&gt;governmentâ&lt;span&gt; &lt;span&gt;in&lt;/span&gt; &lt;span&gt;her tax returns âthat she was not married, &lt;span&gt;&lt;/span&gt;going so &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;far as to state that her spouse was &lt;span&gt;âdeceased.ââ&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt;Because the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;evidence on this factor was mixed, the court determined that&lt;span&gt;&lt;/span&gt; it &lt;/div&gt;
&lt;div&gt;weighed against a finding of a common law marriage. &lt;/div&gt;
&lt;div&gt;Â¶ 17&lt;span&gt; &lt;/span&gt;&lt;span&gt;Because the trial court applied the correct legal standard and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;because its findings are reasonable and well support&lt;span&gt;&lt;/span&gt;ed by the &lt;/div&gt;
&lt;div&gt;evidence, we discern no clear error or abuse of discretion &lt;span&gt;&lt;/span&gt;in its &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; The trial court separately addressed the factor concerning joint t&lt;span&gt;&lt;/span&gt;ax &lt;/div&gt;
&lt;div&gt;filings.  &lt;span&gt;It&lt;/span&gt; found that the fact that McClure and Lopez both filed &lt;/div&gt;
&lt;div&gt;their taxes as head of household, which requires the filer to be &lt;/div&gt;
&lt;div&gt;unmarried, on its own âweigh&lt;span&gt;[ed] &lt;/span&gt;heavily againstâ a finding of &lt;span&gt;a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;common law marriage. &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pfb" data-dest-detail='[11,"XYZ",69,154,null]'&gt;&lt;div style="border-style:none;position:absolute;left:497.336667px;bottom:458.032222px;width:10.080000px;height:32.870000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfc" data-page-no="c"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;11 &lt;/div&gt;
&lt;div&gt;determination that McClure and Lopez were not common law &lt;/div&gt;
&lt;div&gt;married.  &lt;span&gt;See Blakeland Drive Invs.&lt;/span&gt;&lt;span&gt;,&lt;/span&gt;&lt;span&gt; &lt;/span&gt;Â¶ &lt;span&gt;28&lt;span&gt;; &lt;/span&gt;&lt;/span&gt;&lt;span&gt;Marriage of Ba&lt;span&gt;&lt;/span&gt;dawiyeh&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 9&lt;span&gt;.  &lt;/span&gt;Indeed, w&lt;span&gt;here, as here, the evidence is conflicting, we â&lt;/span&gt;may not &lt;/div&gt;
&lt;div&gt;substitute [our] conclusions for those of the trial court me&lt;span&gt;&lt;/span&gt;rely &lt;/div&gt;
&lt;div&gt;because there may be credible evidence supporting a different &lt;/div&gt;
&lt;div&gt;result.â&lt;span&gt;  &lt;span&gt;Blakeland Drive Invs.&lt;/span&gt;&lt;span&gt;,&lt;/span&gt;&lt;span&gt; &lt;/span&gt;Â¶ &lt;span&gt;28&lt;/span&gt; (quoting &lt;span&gt;Lawry v. Pa&lt;span&gt;&lt;/span&gt;lm&lt;span&gt;, 192 &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;P.3d 550, 558 (Colo. App. 2008)). &lt;/div&gt;
&lt;div&gt;III.&lt;span&gt; &lt;span&gt;Attorney-Client Privilege &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 18&lt;span&gt; &lt;/span&gt;&lt;span&gt;Lopez also contends that the trial court erred by allowing the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;discovery and the admission of evidence concerning the draft &lt;/div&gt;
&lt;div&gt;Cohabitation Agreement, as such evidence was protected by t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;attorney-client privilege.  We conclude that any error was harmless. &lt;/div&gt;
&lt;div&gt;Â¶ 19&lt;span&gt; &lt;/span&gt;&lt;span&gt;We review rulings on the discoverability and admissibility of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;evidence &lt;span&gt;for&lt;/span&gt; &lt;span&gt;an&lt;/span&gt; abuse of discretion.  &lt;span&gt;Affinity Colo., LLC v. Kissinger &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;&amp;amp; Fellman, P.C.&lt;span&gt;, 2019 COA 147, Â¶ 23; &lt;/span&gt;Hodge v. Matrix Grp., I&lt;span&gt;&lt;/span&gt;nc.&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2022 COA 4, Â¶ &lt;span&gt;12&lt;/span&gt;&lt;span&gt;.  &lt;/span&gt;This same standard also applies to decisions &lt;/div&gt;
&lt;div&gt;regarding the attorney-client privilege.  &lt;span&gt;Affinity Colo.&lt;/span&gt;&lt;span&gt;, Â¶&lt;/span&gt; &lt;span&gt;23.&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 20&lt;span&gt; &lt;/span&gt;&lt;span&gt;However, an error is not grounds for reversal if it is harmless. &lt;span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;In re Estate of Gonzalez&lt;span&gt;, 2024 COA 63, Â¶ 40.  We will reverse a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;judgment only if &lt;span&gt;an&lt;/span&gt; error affected the &lt;span&gt;partiesâ &lt;/span&gt;substantial rights. &lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfd" data-page-no="d"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;12 &lt;/div&gt;
&lt;div&gt;Id.&lt;span&gt;; &lt;/span&gt;&lt;span&gt;see also&lt;span&gt; &lt;span&gt;C.R.C.P. 61.  âAn error affects a substa&lt;span&gt;&lt;/span&gt;ntial right only if &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;âit can be said with fair assurance that the error substant&lt;span&gt;&lt;/span&gt;ially &lt;/div&gt;
&lt;div&gt;influenced the outcome of the case or impaired the basi&lt;span&gt;&lt;/span&gt;c fairness of &lt;/div&gt;
&lt;div&gt;the trial &lt;span&gt;itself.ââ  &lt;span&gt;Gonzalez&lt;/span&gt;&lt;/span&gt;&lt;span&gt;, Â¶&lt;/span&gt; &lt;span&gt;40&lt;/span&gt;&lt;span&gt; &lt;/span&gt;(quoting &lt;span&gt;Bly v. Story&lt;/span&gt;, 241 P.3d 529, &lt;/div&gt;
&lt;div&gt;535 (Colo. 2010)). &lt;/div&gt;
&lt;div&gt;Â¶ 21&lt;span&gt; &lt;/span&gt;&lt;span&gt;The attorney-client privilege and Colorado Rule of Professional &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Conduct 1.6 both ensure client-lawyer confidentiality.  &lt;span&gt;In re Estat&lt;span&gt;&lt;/span&gt;e &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;of Rabin&lt;span&gt;, 2020 CO 77, Â¶ 29.  The protections of both provisions &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;survive the death of the client.  &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt;; &lt;/span&gt;&lt;span&gt;see also&lt;/span&gt; Colo. RPC 1.9(c)(2) &lt;span&gt;(âA &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;lawyer who has formerly represented a client in a matt&lt;span&gt;&lt;/span&gt;er . . . shall &lt;/div&gt;
&lt;div&gt;not thereafter . . . reveal information relating to the represent&lt;span&gt;&lt;/span&gt;ation &lt;/div&gt;
&lt;div&gt;except as these Rules would permit or require . . . .&lt;span&gt;â).&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 22&lt;span&gt; &lt;/span&gt;&lt;span&gt;However, there are several exceptions to the application of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;these provisions&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;Wesp v. Everson&lt;/span&gt;, 33 P.3d 191, 200 (Colo. 2001)&lt;span&gt;.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;One of those &lt;span&gt;is the testamentary exception, which âpermits an &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;attorney who writes a will to testify, after the testatorâs &lt;span&gt;&lt;/span&gt;death, about &lt;/div&gt;
&lt;div&gt;attorney-client communications related to the execution and &lt;/div&gt;
&lt;div&gt;validity of the will.â  &lt;span&gt;Id. &lt;span&gt;at 201.  Courts have applied this exception &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;to allow attorneys to reveal otherwise privileged information that is &lt;/div&gt;
&lt;div&gt;necessary for administering the testatorâs estate, &lt;span&gt;see Ra&lt;span&gt;&lt;/span&gt;bin&lt;span&gt;, Â¶&lt;span&gt; 42, &lt;span&gt;or &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfe" data-page-no="e"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;13 &lt;/div&gt;
&lt;div&gt;that affects the validity of &lt;span&gt;the testatorâs&lt;/span&gt; will, &lt;span&gt;see &lt;span&gt;Denver Nat&lt;span&gt;âl&lt;/span&gt; Bank &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;v. McLagan&lt;span&gt;, 298 P.2d 386, 388 (Colo. 1956).&lt;span&gt;  &lt;/span&gt;In doing so, the courts &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;have reasoned that such disclosures serve âthe exceptionâs p&lt;span&gt;&lt;/span&gt;urpose &lt;/div&gt;
&lt;div&gt;of furthering the testatorâs intent.â  &lt;span&gt;Wesp&lt;/span&gt;&lt;span&gt;, 33 P.3d at 201. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 23&lt;span&gt; &lt;/span&gt;&lt;span&gt;The trial court applied this exception, concluding that the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;draft Cohabitation Agreement functioned as a âquasi&lt;span&gt;-testamentary &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;instrumentâ insofar as it purported to delineate the disposit&lt;span&gt;&lt;/span&gt;ion of &lt;/div&gt;
&lt;div&gt;McClureâs and Lopezâs joint and &lt;span&gt;separate property.&lt;span&gt;  &lt;/span&gt;The court also &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;reasoned that applying the exception âwould likely further &lt;/div&gt;
&lt;div&gt;[McClureâs] testamentary intent.â&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 24&lt;span&gt; &lt;/span&gt;&lt;span&gt;But to date, the published decisions addressing the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;testamentary exception &lt;span&gt;ha&lt;/span&gt;ve applied it only in the context of &lt;/div&gt;
&lt;div&gt;testamentary instruments&lt;span&gt;, &lt;/span&gt;like wills&lt;span&gt;. &lt;/span&gt; &lt;span&gt;S&lt;span&gt;ee&lt;/span&gt;&lt;span&gt;, e.g.&lt;/span&gt;&lt;/span&gt;&lt;span&gt;,&lt;/span&gt;&lt;span&gt; In re Estate of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Ashworth&lt;span&gt;, 2024 CO 39, Â¶Â¶ &lt;span&gt;14&lt;/span&gt;&lt;span&gt;-&lt;span&gt;15&lt;/span&gt;&lt;/span&gt;&lt;span&gt;; &lt;/span&gt;&lt;/span&gt;Wesp&lt;span&gt;, 33 P.3d at 200-&lt;span&gt;01&lt;span&gt;; &lt;/span&gt;&lt;/span&gt;&lt;span&gt;Denver &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Nat&lt;span&gt;âl&lt;/span&gt;&lt;span&gt; Bank&lt;span&gt;, 298 P.2d &lt;span&gt;at&lt;/span&gt; 388&lt;span&gt;; &lt;/span&gt;&lt;/span&gt;In re Shapter&lt;span&gt;â&lt;/span&gt;s Estate&lt;span&gt;, 85 P. 688, 6&lt;span&gt;&lt;/span&gt;91 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(Colo. 1905)&lt;span&gt;, &lt;/span&gt;&lt;span&gt;superseded by statute&lt;/span&gt;, Ch. 251, sec. 1, 1907 Colo. &lt;/div&gt;
&lt;div&gt;Sess. Laws 629.  Thus, &lt;span&gt;itâs not clear &lt;/span&gt;that the exception would apply &lt;/div&gt;
&lt;div&gt;to instruments like the draft Cohabitation Agreement &lt;span&gt;that&lt;span&gt;&lt;/span&gt; donât &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;establish the transfer of property rights upon death and thus &lt;span&gt;&lt;/span&gt;arenât &lt;/div&gt;
&lt;div&gt;testamentary in nature &lt;span&gt;â&lt;/span&gt; or at most are, as the trial court &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pff" data-page-no="f"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;14 &lt;/div&gt;
&lt;div&gt;described it, âquasi&lt;span&gt;-&lt;/span&gt;testamentaryâ in nature&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See generally&lt;span&gt; Â§ &lt;span&gt;15&lt;span&gt;-&lt;span&gt;10&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;-&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;201(59), C.R.S. 2024 (defining a âwillâ to include certain &lt;/div&gt;
&lt;div&gt;âtestamentary instrument[s]â&lt;span&gt;); &lt;span&gt;Taylor v. Wilder&lt;/span&gt;, 165 P. 766, 767-68 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(Colo. 1917) (explaining the difference between contracts that &lt;/div&gt;
&lt;div&gt;transfer property &lt;span&gt;rights during a partyâs lifetime and testamentary &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;instruments that transfer such &lt;span&gt;rights upon the partyâs death).&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 25&lt;span&gt; &lt;/span&gt;&lt;span&gt;But regardless of whether the court erred by allowing the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;discovery and admission of evidence relating to the agre&lt;span&gt;&lt;/span&gt;ement, w&lt;span&gt;e &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;conclude that any such error was harmless because the court mad&lt;span&gt;&lt;/span&gt;e &lt;/div&gt;
&lt;div&gt;clear that it would&lt;span&gt;âve reached&lt;/span&gt; the same conclusion on the common &lt;/div&gt;
&lt;div&gt;law marriage issue even without the evidence. &lt;/div&gt;
&lt;div&gt;Â¶ 26&lt;span&gt; &lt;/span&gt;&lt;span&gt;In its assessment of the common law marriage factors, the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;court cited the challenged evidence only once.  And in that &lt;span&gt;&lt;/span&gt;one &lt;/div&gt;
&lt;div&gt;instance, the court stated that &lt;span&gt;â[e]ven if [it] did not consider &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;[&lt;span&gt;McClureâs&lt;/span&gt;&lt;span&gt; &lt;/span&gt;&lt;span&gt;attorneyâs&lt;/span&gt;&lt;span&gt;] testimony and [the draft Cohabitation &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Agreement], the record evidence of [&lt;span&gt;McClureâs and Lopezâs] &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;references/labels for one another fails to support a finding&lt;span&gt;&lt;/span&gt; that the &lt;/div&gt;
&lt;div&gt;couple called &lt;span&gt;each other&lt;/span&gt; &lt;span&gt;husband and wife.â&lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 27&lt;span&gt; &lt;/span&gt;&lt;span&gt;It is clear, therefore, that any error in the &lt;span&gt;courtâs rulings &lt;/span&gt;&lt;span&gt;on&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the discoverability and admissibility of the challenged evidenc&lt;span&gt;&lt;/span&gt;e &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf10" data-page-no="10"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;15 &lt;/div&gt;
&lt;div&gt;didnât substantially influence the outcome of the case or impair t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;basic fairness of the proceeding&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See Gonzalez&lt;/span&gt;&lt;span&gt;, Â¶&lt;/span&gt; &lt;span&gt;40&lt;/span&gt;&lt;span&gt;; &lt;/span&gt;&lt;span&gt;see also &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;People v. Thompson&lt;span&gt;, 950 P.2d 608, 613 (Colo. App. 199&lt;span&gt;&lt;/span&gt;7) &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(concluding that any error in admitting privileged evidence was &lt;/div&gt;
&lt;div&gt;harmless under the circumstances of the case).&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;IV.&lt;span&gt; &lt;/span&gt;&lt;span&gt;Appointment of the Personal Representative &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 28&lt;span&gt; &lt;/span&gt;&lt;span&gt;Finally, Lopez contends that the trial court erred in appointing &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Moore as personal r&lt;span&gt;epresentative of McClureâs estate because she &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;didn&lt;span&gt;â&lt;/span&gt;&lt;span&gt;t have priority for the appointment.&lt;span&gt;  &lt;/span&gt;We decline to consider &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;this issue, as Lopez didn&lt;span&gt;â&lt;/span&gt;t preserve it for appeal. &lt;/div&gt;
&lt;div&gt;Â¶ 29&lt;span&gt; &lt;span&gt;In civil cases, we generally donât address issues that werenât &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;preserved for appeal.  &lt;span&gt;Madalena v. Zurich Am. Ins. Co.&lt;/span&gt;, 2023 COA &lt;/div&gt;
&lt;div&gt;32, Â¶ 50.  &lt;span&gt;We donât require âtalismanic languageâ to prese&lt;span&gt;&lt;/span&gt;rve an &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;issue for appeal&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;Id.&lt;/span&gt; (quoting &lt;span&gt;In re Estate of Owens&lt;/span&gt;, 2017 COA 53, &lt;/div&gt;
&lt;div&gt;Â¶ &lt;span&gt;21).  Instead, â[i]f a party âpresented to the trial court t&lt;span&gt;&lt;/span&gt;he sum and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;substance of the argument it . . . makes on appeal, we conside&lt;span&gt;&lt;/span&gt;r that &lt;/div&gt;
&lt;div&gt;argument properly preserved.&lt;span&gt;ââ  &lt;span&gt;Id.&lt;/span&gt;&lt;/span&gt; (quoting &lt;span&gt;Berra v. Springer &amp;amp; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Steinberg, P.C.&lt;span&gt;, 251 P.3d 567, 570 (Colo. App. 2010)). &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 30&lt;span&gt; &lt;/span&gt;&lt;span&gt;Lopez argues that the trial court erred in selecting Moore, who &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;serves as guardian for McClureâs adult child,&lt;span&gt; as the personal &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf11" data-page-no="11"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;16 &lt;/div&gt;
&lt;div&gt;representative&lt;span&gt;.  He suggests that the court instead shouldâve &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;appointed the &lt;span&gt;childâs &lt;/span&gt;conservator. &lt;/div&gt;
&lt;div&gt;Â¶ 31&lt;span&gt; &lt;/span&gt;&lt;span&gt;However, Lopez didn&lt;span&gt;â&lt;/span&gt;t raise this argument at the trial level.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;While Lopez, in his response to &lt;span&gt;Mooreâs petition&lt;/span&gt;, asked to be &lt;/div&gt;
&lt;div&gt;appointed as the personal representative, he didn&lt;span&gt;â&lt;/span&gt;t argue that&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Moore should &lt;span&gt;not&lt;/span&gt; be appointed because she didn&lt;span&gt;â&lt;/span&gt;t have priority or &lt;/div&gt;
&lt;div&gt;because someone else (other than him) should be appointe&lt;span&gt;&lt;/span&gt;d.&lt;span&gt;  &lt;/span&gt;Nor &lt;/div&gt;
&lt;div&gt;did he make any such arguments after the court rejected his &lt;/div&gt;
&lt;div&gt;common law marriage claim and indicated that, in his absence, &lt;/div&gt;
&lt;div&gt;Moore had priority for appointment as the personal rep&lt;span&gt;&lt;/span&gt;resentative.&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Thus, the issue is not preserved.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;V.&lt;span&gt; &lt;span&gt;Attorney Fees &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 32&lt;span&gt; &lt;/span&gt;&lt;span&gt;Lastly, we reject Moore&lt;span&gt;âs&lt;/span&gt; contention &lt;span&gt;that Lopezâs appeal is &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;frivolous and that she is therefore entitled to attorney fees under &lt;/div&gt;
&lt;div&gt;C.A.R. 38(b) and section 13-&lt;span&gt;17&lt;/span&gt;-102, C.R.S. 2024. &lt;/div&gt;
&lt;div&gt;Â¶ 33&lt;span&gt; &lt;span&gt;âAn appeal may be either frivolous as filed or frivolous as &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;argued.â  &lt;span&gt;Calvert v. Mayberry&lt;span&gt;, 2019 CO 23, Â¶ 45.  An appeal is &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;frivolous as filed if the judgment below was plainly correct and the &lt;/div&gt;
&lt;div&gt;legal authority is clearly contrary to the appellantâs position&lt;span&gt;, such &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that &lt;span&gt;â&lt;/span&gt;there are no legitimately appealable issues.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;&lt;span&gt;Id.&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;And an &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf12" data-page-no="12"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;17 &lt;/div&gt;
&lt;div&gt;appeal is frivolous as argued if, even if there may be legitimately &lt;/div&gt;
&lt;div&gt;appealable issues, the appellant doesn&lt;span&gt;ât present âa coherent &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;assertion of error, supported by legal authority,&lt;span&gt;â&lt;/span&gt; to support them.&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Id. &lt;span&gt;(quoting &lt;/span&gt;Castillo v. Koppes-Conway&lt;span&gt;, 148 P.3d 289, &lt;span&gt;&lt;/span&gt;292 (Colo. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;App. 2006)). &lt;/div&gt;
&lt;div&gt;Â¶ 34&lt;span&gt; &lt;/span&gt;&lt;span&gt;We conclude that, a&lt;span&gt;lthough Lopezâs arguments are ultimately &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;unsuccessful, his appeal is not frivolous.  First, the appeal is not &lt;/div&gt;
&lt;div&gt;frivolous as filed, as the issues were legitimately appealable, &lt;/div&gt;
&lt;div&gt;particularly as to &lt;span&gt;the trial courtâs common law marriage and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;attorney-client privilege determinations&lt;span&gt;.  &lt;/span&gt;And second, the appeal i&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;not frivolous as argued, as Lopez presented coherent arguments &lt;/div&gt;
&lt;div&gt;supported by legal authority and citations to the record. &lt;/div&gt;
&lt;div&gt;Â¶ 35&lt;span&gt; &lt;/span&gt;&lt;span&gt;Accordingly, an award of attorney fees is not warranted. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;VI.&lt;span&gt; &lt;/span&gt;&lt;span&gt;Disposition &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 36&lt;span&gt; &lt;/span&gt;&lt;span&gt;The orders are affirmed. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;JUDGE DUNN and JUDGE NAVARRO concur. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
